          Case 18-12284-amc   DocUNITED
                          IN THE  48 Filed 05/10/23
                                         STATES      Entered 05/10/23
                                                 BANKRUPTCY     COURT 12:20:47                             Desc Main
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                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                             : CHAPTER 13
IN RE:     MINNIE L WILLIAMS                                :
                                                            : BANKRUPTCY NO. 18-12553
                                                            :




                                        NOTICE OF FINAL CURE PAYMENT


         Pursuant to Bankruptcy Rule 3002.1(f), KENNETH E. WEST, Chapter 13 Standing Trustee gives notice
         that the amount required to cure the prepetition default in the claim below has been paid in full and the
         debtor(s) have completed all payments under the plan.



Creditor: OCWEN LOAN SERVICING                                    Claim Number: 3

         A Response Is Required by Bankruptcy Rule 3002.1(g)
     Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the
     trustee, within 21 days after service of this notice, a statement indicating whether the creditor agrees that
     the debtor(s) have paid in full the amount required to cure the default and stating whether the debtor(s)
     have (i) paid all outstanding postpetition fees, costs, and escrow amounts due, and (ii) consistent with §
     1322(b)(5) of the Bankruptcy Code, are current on all postpetition payments as of the date of the
     response. Failure to file and serve the statement may subject the creditor to further action of the court,
     including possible sanctions.


                                                                                          Respectfully submitted,


                                                                                           /s/ KENNETH E. WEST

                                                                                          KENNETH E. WEST, Esquire
                                                                                          Chapter 13 Standing Trustee
                                                                                          P.O. Box 40837
                                                                                          Philadelphia PA 19107
                                                                                          Phone: 215-627-1377
